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6                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
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                         SAN FRANCISCO-OAKLAND DIVISION
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     AMERICAN CIVIL LIBERTIES
10   UNION FOUNDATION, et al.,                 Case No. 19-CV-00290-EMC
11                 Plaintiffs,                 JOINT STATUS REPORT
12
            v.
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     DEPARTMENT OF JUSTICE, et al.,
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15                 Defendants.
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           The parties jointly submit this status report pursuant to the Court’s order
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     issued during the telephone status conference held on April 16, 2020 (ECF No.
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     52). The Court has requested that the parties submit a proposed timeline for partial
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     summary judgment briefing with respect to withholdings by three Department of
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     Homeland Security (“DHS”) components—U.S. Customs and Border Protection,
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     U.S. Immigration and Customs Enforcement, and U.S. Citizenship and
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     Immigration Services—that have completed their productions in response to
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     Plaintiffs’ FOIA request.
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           Since the April 16, 2020, status conference, the parties have met and
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     conferred to discuss ways to reduce the number of issues for adjudication by the
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     Court. The parties are currently attempting to reach agreement on a plan for the
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                                    JOINT STATUS REPORT
                                   CASE NO. 19-CV-00290-EMC
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1    three DHS components at issue to provide Plaintiffs with additional information
2    regarding the categories of information withheld by Defendants to allow the parties
3    to try to come to agreement on a list of disputed withholdings. The parties will try
4    to reach agreement on such a plan as soon as possible so that they can identify a
5    feasible date to commence summary judgment briefing and propose a schedule for
6    the parties’ anticipated cross-motions. The parties hope to be able to conclude
7    these negotiations over the next week, and will report back to the Court at the
8    status conference to be held on June 18, 2020.
9                                           Respectfully submitted,
10                                         /s/                          s
     DATED: June 11, 2020
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                                           Deputy Branch Director
26
                                           /s/
27                                         ELIZABETH TULIS (NY Bar)
                                           Trial Attorney
28                                         U.S. Department of Justice,
                                                2
                                     JOINT STATUS REPORT
                                    CASE NO. 19-CV-00290-EMC
     Case 3:19-cv-00290-EMC Document 57 Filed 06/11/20 Page 3 of 3


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                            JOINT STATUS REPORT
                           CASE NO. 19-CV-00290-EMC
